                               Case 5:22-cv-00244-SVK Document 17 Filed 02/15/22 Page 1 of 3
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                      1   FORD & HARRISON LLP




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                          David L. Cheng, Bar No. 240926




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                      2   dcheng@fordharrison.com
                          Jennifer S. McGeorge, Bar No. 221679                             APPRO
                          jmcgeorge@fordharrison.com




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                          350 South Grand Avenue, Suite 2300
                      4   Los Angeles, CA 90071
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                          Telephone: 213-237-2400                                                     usa   n va n K




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                      5   Facsimile: 213-237-2401                                          J u d ge S




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                          Attorneys for Defendant                                     ER




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                          LINCARE HOLDINGS INC.                                                              F
                                                                                               D IS T IC T O
                      7                                                                              R
                      8                          UNITED STATES DISTRICT COURT
                      9                       NORTHERN DISTRICT OF CALIFORNIA
                     10
                          PAZ CARINO,                                Case No. 5:22-cv-00244-SVK
                     11
                                           Plaintiff,                JOINT STIPULATION TO DISMISS
                     12                                              DEFENDANT LINCARE
                          v.                                         HOLDINGS INC. FROM ACTION
                     13
                          LINCARE HOLDINGS INC., a
                     14   Delaware corporation; LINCARE
                          INC., a Delaware corporation; and
                     15   DOES 1 through 30, inclusive,
                     16                    Defendants.
                     17

                     18           Plaintiff PAZ CARINO (“Plaintiff”) and Defendant LINCARE HOLDINGS,
                     19   INC. (“LHI”) (hereinafter collectively referred to as “the Parties”), by and through
                     20   their respective attorneys of record, hereby stipulate and agree as follows:
                     21                                       RECITALS
                     22           WHEREAS, on November 5, 2021, Plaintiff filed a Complaint against
                     23   Defendants Lincare Inc. and Lincare Holdings Inc. (“Defendants”) in the Santa
                     24   Clara County Superior Court, entitled Paz Carino, an individual v. Lincare
                     25   Holdings Inc., a Delaware corporation; Lincare Inc., a Delaware corporation; and
                     26   Does 1 through 30, Santa Clara County Superior Court, Case No. 21CV391147
                     27   [hereinafter “Complaint”];
                     28           WHEREAS, the Complaint is an employment action wherein Plaintiff alleges
F ORD & H ARRISON
       LLP                                                                      JOINT STIPULATION TO DISMISS DEFENDANT
 ATTO RNEY S AT LAW                                                                  LINCARE HOLDINGS INC. FROM ACTION
    LOS A NG EL ES
                            Case 5:22-cv-00244-SVK Document 17 Filed 02/15/22 Page 2 of 3



                      1   causes of action against LHI and Lincare Inc. for: (1) Disability/Medical Condition
                      2   Discrimination; (2) Failure to Take Reasonable Steps to Prevent Discrimination and
                      3   Retaliation; (3) Wrongful Termination; (4) Unfair Business Practices; and (5)
                      4   Failure to Provide Personnel File and Payroll Records;
                      5         WHEREAS, on January 13, 2022, Defendant LHI, without waiving any of its
                      6   rights, removed the Complaint and the action to this Court;
                      7         WHEREAS, on January 20, 2022, Defendant LHI filed a motion to dismiss
                      8   LHI from this action for lack of personal jurisdiction, which is pending before this
                      9   Court and scheduled to be heard on March 1, 2022;
                     10          WHEREAS, counsel for the Parties have met and conferred concerning the
                     11   status of LHI as a named Defendant in this action, and dismissal of LHI as a
                     12   Defendant in this action for the reasons expressed in LHI’s pending motion to
                     13   dismiss.
                     14                                      STIPULATION
                     15         NOW THEREFORE, the Parties hereby stipulate and agree as follows:
                     16         1.       Plaintiff agrees, and hereby requests, that this Court dismiss Defendant
                     17   LHI as a Defendant in this action, with prejudice, for lack of personal jurisdiction
                     18   against LHI;
                     19         2.       The pending motion to dismiss filed by LHI shall therefore be taken
                     20   off calendar as moot.
                     21         IT IS SO STIPULATED.
                     22

                     23   Dated: January 28, 2022                      Respectfully submitted,
                     24                                                FORD & HARRISON LLP
                     25
                                                                       By: /s/ Jennifer S. McGeorge
                     26                                                  David L. Cheng
                                                                         Jennifer S. McGeorge
                     27                                                  Attorneys for Defendant
                                                                         LINCARE HOLDINGS INC.
                     28
F ORD & H ARRISON
       LLP                                                                       JOINT STIPULATION TO DISMISS DEFENDANT
 ATTO RNEY S AT LAW
                                                                    -2-              LINCARE HOLDINGS INC. FROM ACTION
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                            Case 5:22-cv-00244-SVK Document 17 Filed 02/15/22 Page 3 of 3



                      1   Dated: January 28, 2022                    LAW OFFICE OF EDWARD
                                                                     ANTONINO
                      2

                      3
                                                                      By: /s/ Edward Antonino
                      4                                                 Edward Antonino
                                                                        Attorney for Plaintiff
                      5                                                 PAZ CARINO
                      6

                      7                Certification of Compliance with N.D. Cal. L.R. 5-1(h)
                      8         I hereby certify that pursuant to N.D. Cal. L.R. 5-1(h), I have obtained the
                      9   authorization from each of the above signatories to file the above-referenced
                     10   document, and that the above signatories concur in and authorize the filing’s
                     11   content. I certify under penalty of perjury under the laws of the state of California
                     12   and the United States of America that the foregoing is true and correct.
                     13         Executed on January 28, 2022 at Los Angeles, California.
                     14                                        FORD & HARRISON, LLP
                     15

                     16                                        By: /s/ Jennifer S. McGeorge
                                                                 Jennifer S. McGeorge
                     17                                          Attorneys for Defendant,
                                                                 LINCARE HOLDINGS INC.
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F ORD & H ARRISON
       LLP                                                                     JOINT STIPULATION TO DISMISS DEFENDANT
 ATTO RNEY S AT LAW
                                                                  -3-              LINCARE HOLDINGS INC. FROM ACTION
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